        Case 6:95-cv-00024-JB-KBM Document 1673 Filed 10/03/23 Page 1 of 2


                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW MEXICO

                                              Clerk's Minutes
                                  Before the Honorable James O. Browning


CASE NO.           NO. CIV 95-0024 JB/KBM        DATE: 10/3/2023

TITLE:        McClendon, et al. v. Albuquerque, City of, et al.

COURTROOM CLERK: L. Rotonda                      COURT REPORTER:     J. Bean

COURT IN SESSION: 1:30 PM                        TOTAL TIME: 1:16

TYPE OF PROCEEDING: MOTION HEARING

COURT RULING/DISPOSITION:
  1. MOTION FOR ORDER TO SHOW CAUSE WHY COUNTY DEFENDANT SHOULD NOT PAY MONETARY
     PENALTIES FOR REFUSING TO PROVIDE MEDICAL RECORDS 1635 – see below.
ATTORNEYS PRESENT FOR PLAINTIFF(S):              ATTORNEYS PRESENT FOR DEFENDANT(S):
 Alexandra Smith                                  Taylor Rahn
 Doreen McKnight                                  Daniel Macke
 Nicholas Davis
 Katherine Loewe
 Kelly Waterfall
 Debra Moulton


PROCEEDINGS:

COURT IN SESSION: 1:30 PM

COURT: CALLS CASE, COUNSEL ENTER APPEARANCES.

MS. SMITH: ARGUES IN SUPPORT OF MOTION FOR ORDER TO SHOW CAUSE WHY COUNTY

DEFENDANT SHOULD NOT PAY MONETARY PENALTIES FOR REFUSING TO PROVIDE MEDICAL RECORDS

(DOC. 1635).

COURT: QUERIES MS. SMITH REGARDING OPERATIVE DOCUMENTS, HISTORY OF SUIT.

MS. SMITH: RESPONDS TO COURT’S QUERIES.

COURT: QUERIES MS. SMITH REGARDING COURT’S ABILITY TO UPHOLD AGREEMENT THAT DOES

NOT COMPORT WITH FEDERAL LAW.

The Honorable James O. Browning                  -Page 1-                      Clerk’s Minutes
        Case 6:95-cv-00024-JB-KBM Document 1673 Filed 10/03/23 Page 2 of 2


MS. SMITH: RESPONDS TO COURT’S QUERIES, RESUMES ARGUMENT.

MS. LOEWE: ADDRESSES COURT REGARDING MOTION.

MS. RAHN: ARGUES IN OPPOSITION OF MOTION.

COURT: QUERIES MS. RAHN.

MS. RAHN: RESPONDS TO COURT’S QUERIES.

MS. SMITH: ARGUES IN REBUTTAL AS TO MOTION.

MS. LOEWE: ARGUES IN REBUTTAL AS TO MOTION.

COURT: INDICATES DOES THINK THAT THERE IS PATH TO FINDING COUNTY IN CONTEMPT. WILL

ISSUE SHOW CAUSE ORDER, QUERIES COUNSEL REGARDING WHEN THEY WISH TO HAVE SHOW

CAUSE HEARING, COUNSEL RESPOND TO SAME.

WILL SET SHOW CAUSE HEARING FOR OCTOBER 12, 2023 AT 8:30 AM.

COURT IN RECESS: 2:46 PM




The Honorable James O. Browning   -Page 2-                       Clerk’s Minutes
